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                        EXHIBIT 68
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       I                                IN THE CIRCUIT COURT OF THE STATE OF OREGON
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N                                                FORTHECOUNTY0FJACKSON
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........                                                                Case No: 24_SK01646
co             Heidi M Brown
iii
  C
"6,                                                    Petitioner
"C
0                                                                              {~,,GENERAL JUDGMENT
0
0
  ~
                      v.
                                  □ Filed by Guardian ad litem            lef'GENERAL JUDGMENT OF
                                                                                  DISMISSAL
0
0
  ~            Arnaud Paris                                                        RE: STALKING
  0
0                                                    Respondent                  PROTECTIVE ORDER
,:,
   fl)
 r.:
 .:::                                           NOTICE TO RESPONDENT
 ~                                           Review this judgment carefully
           I
               •   You must obey all provisions of this judgment, even if Petitioner contacts you or gives you
                      permission to contact them
               •   You may be arrested and subject to civil and criminal penalties if you violate this judgment
               •   This judgment is enforceable anywhere in Oregon and in every other state

               This matter came before the court on (date): 6/10/2024

               PEa~ppearing:
               ffP~ioner    . D Petitioner's Attorney:
                  espondent   D Respondent's Attorney:
               THE COURT FINDS:

               D Respondent intentionally, knowingly, or recklessly engaged in repeated and unwanted
               contact with Petitioner or a member of Petitioner's immediate family or household thereby
               alarming or coercing Petitioner
               and
               D It is objectively reasonable for a person in Petitioner's situation to have been alarmed or
               coerced by the contact                                                       •
               and
               D The repeated and unwanted contact caused Petitioner reasonable apprehension regarding
               their own personal safety or the personal safety of a member of Petitioner's immediate family or
               household

               THE COURT ORDERS:
               The Petiti.7'°r Stalking Protective Order is:                            •             •

                      [lJ1}BNIED AND DISMISSED. The Temporary Stalking Protective
                      Order is          • ated as of the date of this Judgment.
                           D "tioner did not appear
                             Petitioner did not establish a claim for relief
                           D Other:
                                                                                                /




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      D GRANTED. Respondent is prohibited from contacting Petitioner or Petitioner's
      immediate family or household members directly or through another person.

Duration: This Judgment does not expire. The terms of this Judgment are PERMANENT
unless changed by further order of the court.

"Contact" includes but is not limited to:
   ► coming into the visual or physical presence of the other person
   ► following the other person
   ► waiting outside the home> property, place of work or school of the other person or of a
       member of that person's family or household, including any specific addresses listed on
       the Temporary Order on Petition/Citation/or Stalking Protective Order
   ► sending or making written or electronic communications in any form to the other person
   ► speaking with the other person by any means
   ► communicating with the other person through a third person
   ► committing a crime against the other person
   ► communicating with a third person who has some relationship to the other person with
       the intent of affecting the third person's relationship with the other person
   ► communicating with business entities with the intent of affecting some right or interest
       of the other person
   ► damaging the other person's home, property, place of work or school
   ► delivering directly or through a third person any object to the home, property, place of
       work or school of the other person
   ► service of process or other legal documents unless the other person is served as provided
       inORCP7or9
NOTE: This Judgment does not prohibit Respondent from appearing at any
scheduled court appearances in this case
FIREARMS
   D Petitioner is a family or household member of Respondent under ORS 135.230, a child of
   a family or household member of Respondent, or a child of Respondent

   D This judgment was issued after a hearing about which Respondent had actual notice and
   an opportunity to be heard. This judgment restrains Respondent from harassing, stalking, or
   threatening an intimate partner or child of Respondent, or Petitioner's child. Respondent is
   restrained from engaging in conduct that would place Petitioner in reasonable fear of bodily
   injury to Petitioner or Petitioner's child.
   D The court finds Respondent represents a credible threat to the physical safety of
   Petitioner or Petitioner's child. Respondent is prohibited from use or attempted or
   threatened use of physical force against Petitioner or Petitioner's child that would
   reasonably be expected to cause bodily injury.

   D Respondent is prohibited from purchasing or possessing any
   firearms or ammunition (Event: FQOR)
         D the attached Firearms Surrender and Return Terms apply and are made part of
         this judgment




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                                       FIREARMS NOTIFICATION

  If the firearms prohibition above is marked by the judge, it is unlawful for you to possess or
  purchase a FIREARM, including a rifle, plstol, or revolver, and AMMUNITION (ORS 107.718(1}(h)).
  Talk to a lawyer if you have questions about this (Event: NOGR)


1. SECURTIY AMOUNT for violation of any provision of this Order is
    $5,000 unless otherwise specified here: $_ _ _ _ _ __


2. WARRANT
  • DA Warrant for Respondent's arrest shall issue because Respondent did not appear.
    Security amount is set at D $5,000 / 0 $_ _ _ _ __


     CERTIFICATE OF COMPLIANCE WITH FULL FAITH AND CREDIT
          PROVISIONS OF VIOLENCE AGAINST WOMEN ACT
                    (This is not a Brady Certificate)

This Order meets all full faith and credit requirements of the Violence Against Women Act, 18
U.S.C. 2265. This court has jurisdiction over the parties and the subject matter. Respondent is
being afforded notice and timely opportunity to be heard as provided by the law of this
jurisdiction. This order is valid and entitled to enforcement in this and all other jurisdictions.

A copy of this order was given to the following parties in court today:
      D Petitioner        D Respondent

Other orders:

Judge Signature:




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